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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

 PATRICIA KENNEDY, Individually,                     :
                                                     :
                Plaintiff,                           :
                                                     :
 v.                                                  :
                                                     :
 MIAMI HOTEL ENTERPRISE LLC d/b/a                    :
 ELEMENT MIAMI DORAL,                                :
                                                     :   Case No.
               Defendant.                            :
                                                   / :

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

        Plaintiff, PATRICIA KENNEDY, Individually, on her behalf and on behalf of all other

 individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

 MIAMI HOTEL ENTERPRISE LLC d/b/a ELEMENT MIAMI DORAL, (sometimes referred to

 as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant

 to the Americans with Disabilities Act, 42 U.S.C.§ 12181 et seq. (“ADA”).

 1.             Plaintiff is a resident of Broward County, is sui juris, and qualifies as an individual

                with disabilities as defined by the ADA. Plaintiff is unable to engage in the major

                life activity of walking more than a few steps without assistive devices. Instead,

                Plaintiff is bound to ambulate in a wheelchair or with a cane or other support and has

                limited use of her hands. She is unable to tightly grasp, pinch and twist of the wrist

                to operate. When ambulating beyond the comfort of her own home, Plaintiff must

                primarily rely on a wheelchair. Plaintiff requires accessible handicap parking spaces

                located closest to the entrances of a facility. The handicap and access aisles must be
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             of sufficient width so that she can embark and disembark from a ramp into her

             vehicle. Routes connecting the handicap spaces and all features, goods and services

             of a facility must be level, properly sloped, sufficiently wide and without cracks,

             holes or other hazards that can pose a danger of tipping, catching wheels or falling.

             These areas must be free of obstructions or unsecured carpeting that make passage

             either more difficult or impossible. Amenities must be sufficiently lowered so that

             Plaintiff can reach them. She has difficulty operating door knobs, sink faucets, or

             other operating mechanisms that tight grasping, twisting of the wrist or pinching. She

             is hesitant to use sinks that have unwrapped pipes, as such pose a danger of scraping

             or burning her legs. Sinks must be at the proper height so that she can put her legs

             underneath to wash her hands. She requires grab bars both behind and beside a

             commode so that she can safely transfer and she has difficulty reaching the flush

             control if it is on the wrong side. She has difficulty getting through doorways if they

             lack the proper clearance.

 2.          Plaintiff is a resident of Broward County. For many years, s h e h a s t r a v e l e d

             throughout South Florida including Miami-Dade Count y.

             She plans on continuing those travels in the future.

 3.          Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

             "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

             determining whether places of public accommodation and their websites are in

             compliance with the ADA.




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 4.          According to the county property records, Defendant owns a place of public

             accommodation as defined by the ADA and the regulations implementing the ADA,

             28 CFR 36.201(a) and 36.104. The place of public accommodation that the

             Defendant owns is a place of lodging known as Element Miami Doral, and is

             located at 3285 NW 107 t h Ave., Miami, in the County of Miami-Dade, Florida

             (hereinafter "Property").

 5.          Venue is properly located in the Southern District because venue lies in the judicial

             district where the caus e of acti on accrued. In additi on, th e

             Defendant ’s property is located within, and the Defendant does business within

             this judicial district.

 6.          Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

             original jurisdiction over actions which arise from the Defendant’s violations of Title

             III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

             U.S.C. § 2201 and § 2202.

 7.          As the owner of the subject place of lodging, Defendant is required to comply with

             the ADA. As such, Defendant is required to ensure that its place of lodging is in

             compliance with the standards applicable to places of public accommodation, as set

             forth in the regulations promulgated by the Department of Justice. Said regulations

             are set forth in the Code of Federal Regulations, the Americans With Disabilities

             Act Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards,

             incorporated by reference into the ADA. These regulations impose requirements

             pertaining to places of public accommodation, including places of lodging, to ensure

             that they are accessible to disabled individuals.
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 8.          More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

             requirement:

             Reservations made by places of lodging. A public accommodation that owns,
             leases (or leases to), or operates a place of lodging shall, with respect to
             reservations made by any means, including by telephone, in-person, or through
             a third party -
                     (i) Modify its policies, practices, or procedures to ensure that individuals
                     with disabilities can make reservations for accessible guest rooms during
                     the same hours and in the same manner as individuals who do not need
                     accessible rooms;
                     (ii) Identify and describe accessible features in the hotels and guest
                     rooms offered through its reservations service in enough detail to
                     reasonably permit individuals with disabilities to assess independently
                     whether a given hotel or guest room meets his or her accessibility needs;
                     (iii) Ensure that accessible guest rooms are held for use by individuals
                     with disabilities until all other guest rooms of that type have been rented
                     and the accessible room requested is the only remaining room of that type;
                     (iv) Reserve, upon request, accessible guest rooms or specific types of
                     guest rooms and ensure that the guest rooms requested are blocked and
                     removed from all reservations systems; and
                     (v) Guarantee that the specific accessible guest room reserved through
                     its reservations service is held for the reserving customer, regardless of
                     whether a specific room is held in response to reservations made by
                     others.

 9.          These regulations became effective March 15, 2012.

 10.         Defendant, either itself or by and through a third party, implemented, operates,

             controls and or maintains a website for the Property which contains an online

             reservations system. This term includes all websites owned and operated by

             Defendant or by third parties to book or reserve guest accommodations at the

             hotel. Specifically: https://www.booking.com/hotel/us/element-miami-doral.html,

             https://www.expedia.com/Miami-Hotels-Element-Miami-Doral.h9202208.Hotel-

             Information, https://www.hotels.com/ho476883/element-miami-doral-doral-

             united-states-of-america/, https://www.orbitz.com/Miami-Hotels-Element-Miami-

             Doral.h9202208.Hotel-Information, and https://www.agoda.com/element-miami-

             doral/hotel/miami-fl-us.html?cid=-218. The purpose of these websites is to allow

             members of the public to reserve guest accommodations and review information
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             pertaining to the goods, services, features, facilities, benefits, advantages, and

             accommodations of the Property. As such, this website is subject to the

             requirements of 28 C.F.R. Section 36.302(e).

 11.         Prior to the commencement of this lawsuit, specifically, on June 12, 13, 14, 15,16,

             17, and 18, 2019, Plaintiff visited the websites for the purpose of reviewing and

             assessing the accessible features at the Property and ascertain whether they meet

             the requirements of 28 C.F.R. Section 36.302(e) and her accessibility needs.

             However, Plaintiff was unable to do so because Defendant failed to comply with

             the requirements set forth in 28 C.F.R. Section 36.302(e). As a result, Plaintiff

             was deprived the same goods, services, features, facilities, benefits, advantages,

             and accommodations of the Property available to the general public. More

             specifically:

 12.         The booking sites identified above reflect that the hotel claims to have BBQ

             grills, free shopping center shuttles, free airport transportation, free self-parking, a

             terrace, snack bar/deli, laundry facilities, 24 hour fitness center, wedding services,

             picnic area, business center, grocery/convenience store, computer station, ATM,

             and a garden.

 13.         With respect to the website located at

             https://www.booking.com/hotel/us/element-miami-doral.html: there was no

             option to book an accessible room. Hotel amenities, room types and amenities are

             all listed in detail. No information was given about accessibility in the hotel other

             than the statements “facilities for disabled guests”.

 14.         The website located at https://www.expedia.com/Miami-Hotels-Element-Miami-

             Doral.h9202208.Hotel-Information: likewise has no option to book an accessible

             room. Hotel amenities, room types and amenities are all listed in detail. No
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             information was given about accessibility in the hotel other than the statements

             “accessible bathroom”, “roll-in shower” and in-room accessibility”.

 15.         The website located at https://www.hotels.com/ho476883/element-miami-doral-

             doral-united-states-of-america/: has no option to book an accessible room. Hotel

             amenities, room types and amenities are all listed in detail. No information was

             given about accessibility in the hotel other than the statements “accessible

             bathroom”, “roll-in shower” and in-room accessibility”

 16.         The website located at https://www.orbitz.com/Miami-Hotels-Element-Miami-

             Doral.h9202208.Hotel-Information: has no option to book an accessible room.

             Hotel amenities, room types and amenities are all listed in detail. No information

             was given about accessibility in the hotel other than the statements “accessible

             bathroom”, “roll-in shower” and in-room accessibility”.

 17.         The website located at https://www.agoda.com/element-miami-

             doral/hotel/miami-fl-us.html?cid=-218: does not have an option to book an

             accessible room. Hotel amenities, room types and amenities are all listed in detail.

             No information was given about accessibility in the hotel other than the

             statements “accessible bathroom”, “roll-in shower” and in-room accessibility”.

 18.         In the near future, Plaintiff intends to revisit those websites and/or online

             reservations systems in order to test it for compliance with 28 C.F.R. Section

             36.302(e) and/or to utilize the websites to reserve a guest room and otherwise

             avail herself of the goods, services, features, facilities, benefits, advantages, and

             accommodations of the Property.

 19.         Plaintiff is continuously aware that the subject website remains non-compliant

             and that it would be a futile gesture to revisit the websites as long as those

             violations exist unless she is willing to suffer additional discrimination.
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 20.         The violations present at the websites infringe Plaintiff's right to travel free of

             discrimination and deprive her of the information required to make meaningful

             choices for travel. Plaintiff has suffered, and continues to suffer, frustration and

             humiliation as the result of the discriminatory conditions present at the websites.

             By continuing to utilize websites with discriminatory conditions, Defendant

             contributes to Plaintiff's sense of isolation and segregation and deprives Plaintiff

             the full and equal enjoyment of the goods, services, facilities, privileges and/or

             accommodations available to the general public. By encountering the

             discriminatory conditions at the websites, and knowing that it would be a futile

             gesture to return to the websites unless she is willing to endure additional

             discrimination, Plaintiff is deprived of the same advantages, privileges, goods,

             services and benefits readily available to the general public. By maintaining

             websites with violations, Defendant deprives Plaintiff the equality of opportunity

             offered to the general public.

 21.         Plaintiff has suffered and will continue to suffer direct and indirect injury as a

             result of the Defendant’s discrimination until the Defendant is compelled to

             modify the websites to comply with the requirements of the ADA and to

             continually monitor and ensure that the subject websites remains in compliance.

 22.         Plaintiff has a realistic, credible, existing and continuing threat of discrimination

             from the Defendant’s non-compliance with the ADA with respect to the websites.

             Plaintiff has reasonable grounds to believe that she will continue to be subjected

             to discrimination in violation of the ADA by the Defendant.

 23.         The Defendant has discriminated against the Plaintiff by denying her access to,

             and full and equal enjoyment of, the goods, services, facilities, privileges,

             advantages and/or accommodations of the subject websites.
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 24.         The Plaintiff and all others similarly situated will continue to suffer such

             discrimination, injury and damage without the immediate relief provided by the

             ADA as requested herein.

 25.         Defendant has discriminated against the Plaintiff by denying her access to full and

             equal enjoyment of the goods, services, facilities, privileges, advantages and/or

             accommodations of its place of public accommodation or commercial facility in

             violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

             Defendant continues to discriminate against the Plaintiff, and all those similarly

             situated by failing to make reasonable modifications in policies, practices or

             procedures, when such modifications are necessary to afford all offered goods,

             services, facilities, privileges, advantages or accommodations to individuals with

             disabilities; and by failing to take such efforts that may be necessary to ensure

             that no individual with a disability is excluded, denied services, segregated or

             otherwise treated differently than other individuals because of the absence of

             auxiliary aids and services.

 26.         Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

             12205 and 28 CFR 36.505.

 27.         Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

             Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

             subject websites to make it readily accessible and useable to the Plaintiff and all

             other persons with disabilities as defined by the ADA and 28 C.F.R. Section

             36.302(e); or by ordering the Plaintiff to cease utilizing the websites until such

             time as the Defendant cures its violations of the ADA.
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 WHEREFORE, Plaintiff respectfully requests:

       a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

              commencement of the subject lawsuit is in violation of Title III of the Americans

              with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

       b.     Injunctive relief against the Defendant including an order to revise the websites

              to comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor

              and maintain the websites to ensure that it remains in compliance with said

              requirement.

       c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

              § 12205.

       d.     Such other relief as the Court deems just and proper, and/or is allowable under

              Title III of the Americans with Disabilities Act.




              Respectfully Submitted,



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